                 Case 2:13-cv-00193 Document 775-13 Filed on 11/19/14 in TXSD Page 1 of 1
From                                             Foust Beverly
To                                               G RPDLSSystemSupport
Sent                                             8282013 121911 PM
Subject                                          RE   Election   Certificate   question




A person will    not be required                       to   surrender an election certificate        before being issued   a   TX driver license   or

identification   card


This according        to training materials for election                        certificate    JJJ




Beverly Foust
Driver License Division

Technology Solutions
5124626123
beverlyfoust      dpstexasgov




From Jarmon Karol
Sent Wednesday           August                   28 2013 1208 PM
To GRPDLSSystemSupport
Subject    Election     Certificate                   question




If   a person    is   givers                   an election     certificate     because     they meet the criteria     thus at a pater     date app y for a bL

or ID   card how do we verify                               the eaectoon     certificate      was turned in




     2:13-cv-193
                          exhibitsticker.com




     09/02/2014

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